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Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Daniel Crowley -

 

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SUPERIOR COURT OF THE STATE OF CALIFORNIA
13
fa FOR THE COUNTY OF LOS ANGELES
15 || JOHN DOE I, an individual; and JOHN DOE | CaseNo: 2OSTCV¥18888
16 2, an individual,
COMPLAINT FOR DAMAGES FOR:
17 Plaintiffs,
1. VIOLATION OF UNRUH ACT
18 v. (CIVIL CODE § 51)
2. SEXUAL ASSAULT;
19 || UNITED AIRLINES, INC., an Illinois 3. SEXUAL BATTERY (CIVIL CODE §
20 Corporation; ROE 1, an individual; ROE 2, an 1708.5);
individual; ROE 3, an individual: and ROES 4 4. INTENTIONAL INFLICTION OF
21 || through 50, inclusive, EMOTIONAL DISTRESS;
§. NEGLIGENT INFLICTION OF
22 Defendants. EMOTIONAL DISTRESS;
6. NEGLIGENCE; AND
23 7. NEGLIGENT HIRING, TRAINING,
24 SUPERVISION, AND RETENTION
25 DEMAND FOR JURY TRIAL
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i COMES NOW, Plaintiffs JOHN DOE | and JOHN DOE 2, who complain and allege as

2 |} follows:

3 PARTIES

4 I. Plaintiff JOHN DOE ! (“JOHN DOE 1”) files this Complaint for Damages under
5 || a fictitious name to protect his identity pursuant to Government Code section 6254 and Penal Code
6 || section 293. JOHN DOE | is an African American male adult and professional athlete in the
7 || National Football League (NFL) residing in the City of Hazlet, County of Monmouth, State of

8 || New Jersey. JOHN DOE | was sexually harassed, assaulted, abused, and violated, and verbally
9 || and physically harassed by a female passenger on a Defendant UNITED AIRLINES, INC. flight
10 || from Los Angeles International Airport (LAX) to Newark Liberty International Airport (EWR)
11 |] which began on or about February 10, 2020.
12 2 Plaintiff JOHN DOE 2 (“JOHN DOE 2”) files this Complaint for Damages under
13 || a fictitious name to protect his identity pursuant to Government Code section 6254 and Penal Code
14 |] section 293. JOHN DOE 2 is an African American male adult residing in the City of Philadelphia,
15 || County of Philadelphia, State of Pennsylvania. JOHN DOE 2 was sexually harassed, assaulted,
16 || abused, and violated by a passenger on a Defendant UNITED AIRLINES, INC. flight from Los
17 || Angeles International Airport (LAX) to Newark Liberty International Airport (EWR) which began
18 |} on or about February 10, 2020.
19 3. JOHN DOE ! and JOHN DOE 2 are collectively referred to herein as
20 || “PLAINTIFFS.”
21 4, Defendant UNITED AIRLINES, INC. (“UNITED”) is a major U.S. airline
22 || incorporated in Delaware and headquartered in Chicago, Illinois, and does business in the County
23 || of Los Angeles. UNITED operates a large domestic and international route network, and has
24 || several “hubs” across the U.S., including Los Angeles (LAX), the starting point of the flight at the
25 || heart of this matter.
26 3. PLAINTIFFS are ignorant of the true names and capacities of their assailant, who
27 || was a female passenger on their UNITED flight, and the UNITED flight attendants. UNITED

28 || failed to cooperate and assist PLAINTIFFS, through their counsel, with evidence concerning the

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1 || assault, including, but not limited to, refusing to provide PLAINTIFFS with the identities of their
2 || assailant, the Night attendants, and potential witnesses. Therefore, PLAINTIFFS sue their assailant
3 || and the UNITED flight attendants by the following fictious names (ROES | to 3) pursuant to
4 || California Code of Civil Procedure section 474. PLAINTIFFS will amend this Complaint to state
5 || the true names and capacities of these fictitiously named Defendants when those names are
ascertained. PLAINTIFFS are informed and believe, and thereon allege, that each of the
fictitiously named Defendant (ROES | through 3) is legally responsible in some manner for the

events and damages alleged in this Complaint under the respective causes of action alleged herein.

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6. Defendant ROE | (referred to herein as “ROE 1” or “ASSAILANT”) sexually
10 || harassed, assaulted, abused, and violated, and verbally and physically harassed JOHN DOE | and
11 || JOHN DOE 2 during a UNITED flight departing LAX to EWR on or about February 10, 2020.
12 |} ASSAILANT is a middle-aged Caucasian female.

13 7. Defendant ROE 2 (referred to herein as “ROE 2”) is a male flight attendant
14 || employed by UNITED and was a flight attendant on board the UNITED flight departing LAX to
15 |} EWR on or about February 10, 2020. At all relevant times herein mentioned, ROE 2 was a flight
16 |} attendant, agent, and/or employee of UNITED and was acting within the course and scope of such
17 || agency and/or employment with UNITED.

18 8. Defendant ROE 3 (referred to herein as “ROE 3”) is a female flight attendant
19 |] employed by UNITED and was a flight attendant on board the UNITED flight departing LAX to
20 |} EWR on or about February 10, 2020. At all relevant times herein mentioned, ROE 3 was a flight
2] attendant, agent, and/or employee of UNITED and was acting within the course and scope of such
22 || agency and/or employment with UNITED.

23 9. ROE 2 and ROE 3 are collectively referred to herein as “FLIGHT
24 || ATTENDANTS.”

25 10. PLAINTIFFS do not know the true names and capacities of the Defendants sued
26 |] herein as ROES 4 through 50, inclusive, and therefore sues those Defendants by fictitious names
27 {| pursuant to California Code of Civil Procedure section 474. PLAINTIFFS will amend this

28 || Complaint to state the true names and capacities of the fictitiously named Defendants when those

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] names are ascertained. PLAINTIFFS are informed and believe, and thereon allege, that each of the
2 || fictitiously named Defendant is legally responsible in some manner for the events and damages
3 |; alleged in this Complaint under the causes of action alleged herein.

Le. PLAINTIFFS are informed and believe, and thereon allege, that each of the named
5 || and fictitious Defendants identified in this Complaint was the agent, servant, member, partner,
6 || employee, associate, co-conspirator, co-joint venture, alter-ego of one or more of the other
7 1! defendants and/or was acting in the course and scope of such agency, partnership, joint venture,
8 || association and/or employment when the acts giving rise to the causes of action occurred.
9 12. UNITED, ASSAILANT, FLIGHT ATTENDANTS, and ROES 4 through 50,
0 {| inclusive, are collectively referred to herein as “DEFENDANTS.”
1] NATURE OF THE ACTION
1? 13 This is an action against DEFENDANTS arising fram the sexual harassment and
13 || assault of PLAINTIFFS and for the failure to have and/or follow policies and procedures to
14 || prevent, report, and respond to sexual harassment and assault that occurred on a UNITED flight.
1S 14, The prevalence of passenger-on-passenger in-flight sexual assault is a well-known,
16 |} and growing, problem. In fact, in 2018, the FBI issued a warning — to airlines and the public at
{7 || large — that the number of sexual assaults reported during commercial airline flights has been

1

18 j] increasing “at an alarming rate.
19 15. UNITED, like all airlines, has an affirmative duty to aid and protect its passengers.
20 || This duty includes protecting passengers from sexual assaults by fellow passengers and
21 responding properly and timely to in-flight sexual assaults that do occur.

22 16. UNITED violated this duty by failing to implement and enforce appropriate
23 || policies and procedures to prevent, or properly respond to, sexual assaults that occur on its flights;
24 |} failing to report in-flight sexual assaults to the proper authorilies, or to any authorities; and failing

25 }| to cooperate with authorities in the reporting and investigation process into in-flight sexual

 

' Javier De Diego et al., FB7: Sexual Assaults on Flights Increasing ‘At An Alarming Rate’, CNN Politics
28 (June 20, 2018. 9:19 PM ET),  https://www.cnn.com/2018/06/20/politics/fbi-airplane-sexual-

assault/index.himl

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i |} assaults.
17. Asa result of these violations by UNITED and its FLIGHT ATTENDANTS,
3 }} PLAINTIFFS were sexually harassed and assaulted by their fellow passenger, ASSAILANT,

while they were on their UNITED flight.

18. UNITED’s failure to implement and enforce polices to prevent and timely and
properly respond to in-flight sexual assault led UNITED’s FLIGHTS ATTENDANTS failure to
address the assaults and harassments detailed below; fail to report the assaults and harassments to
the any authorities; and fail to cooperate with authorities investigating those assaults and

harassments.

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19. UNITED’s, including its FLIGHT ATTENDANTS and other agents and/or
1] || employees, actions and inactions were — and are — part of a patlemn of behavior aud a common
12 || course of conduct towards all its passengers, including PLAINTIFFS.

13 20. PLAINTIFFS seek appropriate relief, including, but not limited to, compensatory
14 || damages and punitive damages, as they were unnecessarily put at risk and harmed by

15 DEFENDANTS and UNITED’s common course of misconduct.

 

 

16 FACTUAL ALLEGATIONS

17 A. THE PREVALENCE OF IN-FLIGHT PASSENGER-ON-PASSENGER
18 SEXUAL ASSAULT IS WELL-KNOWN

19 2), In June 2018, the FBI issued a statement that the number of sexual assaults

20 || reported during commercial airline flights is increasing “at an alarming rate,” and the number of
21 || actual cases could be much higher than those reported.” It was further reported that the bulk of
22 || the incidents happen on red-eye overnights, flights of three hours or more where cabin lights might
23 || be darkened, and/or instances where alcohol is being consumed.

24 22. Crimes aboard aircraft fall within the FBI’s jurisdiction, and the agency said its

25 |} investigations into in-flight sexual assaults increased by 66% from fiscal year 2014 to 2017.3

 

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27 71d.

* Sexual Assault Aboard Aircraft: Raising Awareness About a Serious Federal Crime, FB| News (Apr.
28 26, 2018), hups://www. fbi. gov/news/stories/raising-awareness-aboul-sexual-assault-aboard-aircrafi-

 

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] 23. The International Air Transport Association reported 812 incidents during 2018
2 || that were categorized as inappropriate behavior such as touching, sexual harassment, physical
3 || aggression, or indecent acts.’

4 24, In a 2017 Association of Flight Attendants survey, 20% of flight attendants
5 || reported receiving a passenger report of in-flight sexual assault.°

6 25. Airline passenger organization FlyersRights.org released 20 detailed passenger
7 || complaints of in-flight sexual assaults, made to the U.S. Department of Transportation, and
8 || obtained via FOIA requests. These reports also provide a sense of the scope and frequency of
9 || inflight sexual assault.®

10 26. Various news media has been reporting on the prevalence of in-flight sexual
11 || assaults for years.’

12 27. The FBI itself noted the similarity of these crimes: “...agents describe elements of
13 || these crimes as being strikingly similar, The attacks generally occur on long-haul flights when the
14 |] cabin is dark. The victims are usually in middle or window seats, sleeping, and covered with a

15 |] blanket or jacket. They report waking up to their seatmate’s hands inside their clothing or

 

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17

18 |h International Air Transport Association, Safety Report 2018, p. 111-112,

19 https://librarvonline.erau.edu/online-full-text/iata-safely-reporis/IATA-Safety-Report-2018.pdf.

   

? #MeToo in the Air, Association Of Flight Attendants-C WA, https://www.afacwa.org/metoo#al.

20 || ° hups://flversrights.org/wp-content/uploads/2018/1 1/DOT-Sexual-Assault-Records pdf.

7 See, e.g., Andrew Appelbaum, Recent In-Flight Sexual Abuse Complaints to Feds Released by Airline

21 || Passenger Group...Nothing Done?, Flyersrights.Org (Nov. 29, 2018),

htips://fyersrights ore/pressrelease/recent-in-flight-sexual-abuse-complaints-to-feds-released-b

22 || passenver-group/; Nora Caplan-Bricker, Flight Risk, Slate (Aug. 31, 2016), htips://slate.com/human-

interest/2016/08/flightrisk.himl; Defta Passenger Sues Airline, Claims Crew Didn't Detain Passenger

23 Who Sexually Assaulted Her on Flight, FOX News (Sept. 28, 2018),

hitps://wavw. foxnews.com/travel/delta-passenger-sues-airlineclaims-crew-didnt-delain-passenger-who-

24 sexually-assaulted-her-on-flight; Allison Dvaladze, Airline Industry Treats Sexual Assaults in the Skies

Like an Inconvenience, Not a Crime, USA Today (Apr. 1, 2019, 6:00 AM ET),

25 hups.//wivw. usatoday.com/story/opinion/voices/2019/04/0 I/sexual-assault-airlineflight-elaine-chao-

trump-boeine-column/33 12204002/; Christopher Mele, Sexual Assault on Flights: Experts Recommend

26 || Ways 10 Stay Safe and Combat It, N.Y. Times (Mar. 23, 2019),

7 hps:/Avww. nytimes.com/2019/03/23/ravel/airline-flighis-sexual-assault.himl; David Oliver, Passenger
Indicted for Alleged Mid-Flight Sexual Assault of 19-Year-Old Woman, USA Today (May 21, 2019, 9:54

28 AM ET), hitps://Avww.usatoday.com/story/travel/Nights/2019/05/2 | /united-airlines-passengeralleges-

sexual-assault/375 1023002/.

     

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| underwear,’””®

2 28. The FBI also noted what should happen in response to a passenger reporting an
3 || incident to a member of the flight crew: “Flight attendants and captains represent authority on the
A }| plane.,.they can alert law enforcement, and they can sometimes deal with the problem in the air.
5 || The flight crew can also put the offender on notice, which might prevent further problems. If
6 || alerted in advance [by the pilot radiotng ahead to the airport], FBI agents can be on hand when
7 || the plane lands to conduct interviews and take subjects into custody. FBI victim specialists can
8 || respond as well, because victims of federal crimes are entitled by law to a variety of services.”?
9 29. The media has reported about airlines in general failing to adequately respond to
10 || in-flight sexual assault, reporting that frequently: victims might be forced to stay in their assigned
11 || seat next to their assailant for the duration of the flight; no reprimand or action is taken against
12 || the assailant; law enforcement is not notified from the air so they are not there when the plane
13 || lands; the assailant is allowed to de-plane without being questioned, detained, or even identified;
14 || the victim has to wait at the gate — sometimes for hours — for the gate agents to call TSA, who
15 || usually calls the local police (not the FBI); the local police sometimes won't even take a report
16 || because in-flight assaults are not within their jurisdiction; the airline simply tells the victim to call
17 || customer service with her “complaint;” no identities (of assailant or potential witnesses) are
18 || shared with the victim or recorded; no evidence is preserved; and the victim is left to contact the
19 || FBI herself, with no evidence or identities to support her report of the crime she has suffered. '®
20 30. _—_ Eighty-six percent of flight attendants surveyed said they were uncertain of, or had
2) no knowledge of, any policies, procedures, or even guidance from their airtines for handling

22 || sexual assault reports."

 

* FBI, Sexual Assault Aboard Aircraft: Raising Awareness About a Serious Federal Crime, FBI NEWS
24 (Apr. 26, 2018), https://www. foi. gov/news/stories/raising-awareness-about-sexual-assault-aboard-

aircraft-042618.
25 9 Id.

'0 What Happens After You're Sexually Assaulted on a Plane? Not Much, SPLINTER (Oct. 31, 2016,
26 1:29 PM), https://splinternews.com/what-happens-after-y oure-sexually-assaulted-on-a-plane-
1793863317. The 2017 Association of Flight Attendants survey found that law enforcement (not
necessarily the FBI) was contacted or met the plane less than half the time. #MeToo in the Air,
Association Of Flight Attendants-CWA, https://Avww-afacwa.ore/metoo#al.

'! #MeToo in the Air, Association Of Flight Attendants-CWA, https://Avww.afacwa.ore/metoo#al.

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i 31, UNITED, and its FLIGHT ATTENDANTS, knew ~ or should have known ~ of
2 || this growing prevalence of in-flight sexual assaults because it is widely available and known

3 || public knowledge.

4 B. UNITED HAS A DUTY TO PROTECT AND AID ITS PASSENGERS
5 32. Asacommon carrier, UNITED, including its employees, has a special heightened

6 || duty under common law to provide due care to ensure, protect, and aid in the protection of

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passengers’ safety.

33. Passengers entrust and have entrusted UNITED with this duty of care to ensure,
9 |] protect, and aid in the protection of their safety while they are passengers on a UNITED flight.
10 34. | UNITED’s special duty to provide due care to ensure, protect, and aid in the
11 || protection of passengers’ safety includes a duty to take reasonable steps to prevent and deter
12 || inflight sexual assault on its flights, and to properly respond to such assaults that do occur,
13 || particularly in light of UNITED’s knowledge of the growing prevalence of in-flight sexual assault.
14 35. | While passengers are on a plane, they have little control over their surroundings:
15 || they are in cramped quarters; they cannot leave the plane until it lands; and they cannot engage in
16 || activities such as making phone calls or easily communicating with friends, family, or police

17 |} authorities in the case of an emergency.

18 36. UNITED has control over passengers’ surroundings and, indeed, their activities
19 || during the time they are onboard the plane.

20 37. | UNITED can - and does — exercise control over passengers who exhibit lewd,
21 sexual, harassing, disruptive, violent, disorderly, or abusive behavior, reserving the right in its
22 || contract of carriage to refuse transportation to individuals who are intoxicated or under the
23 || influence of drugs, individuals who assault UNITED employees or passengers, and/or disobey
24 || flight crew instructions. '?

25 38. UNITED can -—and has a duty to— implement and enforce policies and procedures

26 |] to prevent and deter in-flight sexual assaults and to properly respond to those that do occur, just

 

'2 United Airlines, Inc. Contract of Carriage, Rule 21(H),
https://www.united.com/ual/en/us/fy/contract-of-carriage. hum!

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| || as it does with other forms of passenger violence and disruption.

2 39, These duties extend to UNITED’s employees, including FLIGHT
3 || ATTENDANTS.

 

4 Cc. ASSAILANT’S IN-FLIGHT HARASSMENT AND SEXUAL ASSAULT ON
5 PLAINTIFFS
6 40. PLAINTIFFS and ASSAILANT were passengers on UNITED “red-eye” flight

7 || number 415 (UA415) from Los Angeles (LAX) to Newark (EWR) (referred to herein as the
8 || “FLIGHT”). The FLIGHT was scheduled to department Los Angeles at 11:15 p.m. and arrive in
9 || Newark at 7:10 a.m.
10 41. PLAINTIFFS and ASSAILANT were assigned to the same row on the FLIGHT.
It 42. JOHN DOE | was assigned seat number 39K (middle) in the economy plus exit
12 || row.
13 43. JOHN DOE 2 upgraded to and was assigned seat number 39J (aisle) in the

14 || economy plus exit row.

15 44. ASSAILANT was assigned seat number 39L (window) in the economy plus exit
16 |] row.
17 45. ASSAILANT boarded the UNITED plane after the majority of the plane had

18 |} already taken their seats, including PLAINTIFFS. As ASSAILANT was finding her assigned row,
19 || PLAINTIFFS observed ASSAILANT to be disheveled and unbalanced. JOHN DOE 2 helped
20 |] ASSAILANT with stowing her bag(s) in the overhead bin.

21 46, As ASSAILANT took her seat, she began harassing JOHN DOE |, who was
22 || wearing a face mask in light of the news coverage he had heard regarding the prevalence and
23 || transmission of COVID-19, amongst other germs and diseases that might be passed or circulated
24 || onan airplane. ASSAILANT began hitting JOHN DOE J’s arm and elbowing him. ASSAILANT
25 || accosted JOHN DOE | and told him that he was “frightening,” ordered him to move to the front
26 || and use the air in the front of the plane because he was sick, and questioned why JOHN DOE |
27 || hadamask on. JOHN DOE I respectfully responded that he was not sick and was being proactive,

28 || especially in wake of the growing COVID-19 concerns at that time.

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| 47, Thereafter, approximately 25 minutes after taking her seat, ASSAILANT was
2 || observed by JOHN DOE | and JOHN DOE 2 taking unknown prescription medication(s). At all
3 || relevant times, ASSAILANT held her prescription bottle in her hand during the FLIGHT.
4 || PLAINTIFFS are informed and believe that, ai al] relevant times, ASSAILANT was under the
5 || influence of drugs and intoxicated.

6 48. JOHN DOE 2 immediately went to notify ROE 2, who was at a nearby service
7 || station, that ASSAILANT is harassing JOHN DOE lI, cursing, and being belligerent and
8 || disruptive. ROE 2 told JOHN DOE 2 that he would come to his row to check and see.
9 || Unfortunately, ROE 2 never came to check on PLAINTIFFS and ignored JOHN DOE 2’s
0 || complaints and concerns.

it 49, After JOHN DOE 2 took his seat, ASSAILANT continued to sexually assault and
12 || abuse JOHN DOE |, make unwanted sexual advances towards JOHN DOE I, and engage in
13 || verbal and/or physical conduct of a sexual nature towards JOHN DOE |. ASSAILANT groped
14 || and massaged JOHN DOE 1t’s knees and thighs. Fearful of the perception of being a male victim
15 || and the racial stigma of being a young African American male, JOHN DOE | patiently pleaded
16 || for ASSAILANT to stop and removed her hand. ASSAILANT’s actions were so inappropriate
17 || that JOHN DOE 2 quickly went to ROE 2 to notify him again of ASSAILANT’s inappropriate
18 |} behavior. ROE 2

19 50. Unfortunately, ROE 2 ignored JOHN DOE 2’s second complaints and no actions
20 || were taken by UNITED employees, including the FLIGHT ATTENDANTS.

2 51. Approximately 75 minutes after the scheduled departure, ASSAILANT intensified
22 || her sexual assault and abuse of JOHN DOE | and continued to make unwanted sexual advances
23 |} and engage in verbal and/or physical conduct of a sexual nature towards JOHN DOE 1.
24 || ASSAILANT starred at JOHN DOE | while grabbing and groping his quads and then stroking
25 || her hand across his lap towards the inside of his leg near his genitals. JOHN DOE | immediately
26 || removed ASSAJLANT's hand and pleaded to ROE 3, who was walking past and overheard JOHN
27 || DOE t complaining. ROE 3 witnessed ASSAILANT’s inappropriate conduct and simply issued
28 {| a verbal warning to ASSAILANT. No further action was taken at that time by either ROE 2 or

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1 |} ROE3.
52. After ASSAILANT turned away towards the window, JOHN DOE | believed he

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was finally able to rest. Unfortunately, ASSAILANT put her hand through JOHN DOE I’s jacket

and caressed his chest and pecs working her way up to his face. While touching JOHN DOE 1’s

> Ww

face, ASSAILANT grabbed JOHN DOE 1’s penis and ripped off his face mask. JOHN DOE 1
jumped up from his seat and complained in front of the entire plane that ASSAILANT is “touching
me.” JOHN DOE |, embarrassed and uncomfortable, rushed to notify ROE 2, who at the time

was in the rear of the plane.

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53. While JOHN DOE I went to go notify ROE 2, ASSAILANT moved over to the
10 || middle seat JOHN DOE I’s seat) and sexually assaulted JOHN DOE 2 by grabbing his leg and
11 |] groin area.

12 54, When ROE 2 came over to PLAINTIFFS’ row, he asked, “‘is this the same lady?”
13 || ASSAILANT admitted that she was drinking and had taken pills. ROE 2 moved ASSAILANT to
14 || another row. PLAINTIFFS are informed and believe that ASSAILANT was moved a second time

15 || for being disruptive yet again and finally moved to a row with no other passengers.

 

 

16 55. | UNITED presented JOHN DOE | and JOHN DOE 2 each with $150.00 voucher.
17 Dz. UNITED BREACHED ITS DUTY TO PLAINTIFFS BY FAILING TO

18 HAVE OR ENFORCE ADEQUATE POLICIES AND PROCEDURES TO
19 PREVENT AND PROPERLY RESPOND TO IN-FLIGHT SEXUAL

20 ASSAULTS

2h 56. | Upon information and belief, UNITED does not have and/or enforces adequate

22 || policies and procedures to prevent sexual assaults on its flights, and to properly respond to such
23 || incidents that do happen.

24 57. | UNITED ?’s failure to have and/or enforce adequate policies and procedures for the
25 || prevention of and response to in-flight sexual assaults is a breach of its affirmative duty to protect
26 || and care for its passengers.

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] E. AS A RESULT OF UNITED’S FAILURE TO HAVE OR ENFORCE
ADEQUATE POLICIES AND PROCEDURES, PLAINTIFFS
WERE PUT AT RISK AND HARMED

& Ww WN

58. UNITED’s lack of and/or failure to enforce adequate policies and procedures for
the prevention of and response to in-flight sexual assault put PLAINTIFFS (and other passengers)
6 || at risk of harm, and caused harm to PLAINTIFFS as they were verbally, physically, and sexually
7 || assaulted by ASSAILANT.
8 59. | Moreover, UNITED’s lack of and/or failure to enforce adequate policies and
9 |) procedures for the proper response to in-flight sexual assaults, specifically the sexual assaults at
10 || issue in this Complaint, exacerbated and amplified the trauma of the actual assault due to
11 |] institutional betrayal.
12 60. The term “Institutional Betrayal’ refers to wrongdoings perpetrated by an
13 || institution upon individuals dependent on that institution, including failure to prevent or respond
14 || supportively to wrongdoings by individuals (e.g. sexual assault) committed within the context of
15 || the institution.'?
16 FIRST CAUSE OF ACTION
17 VIOLATION OF UNRUH ACT (CIVIL CODE § 51)
18 || (Plaintiffs Against Defendants UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50)
19 6l. PLAINTIFFS re-allege and incorporate by reference herein each and every
20 || allegation contained herein above as though fully set forth and brought in this cause of action.
21 62. PLAINTIFFS’ civil rights were violated by UNITED, FLIGHT ATTENDANTS,
22 || and ROES 4 through 50. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, ignored
23 || PLAINTIFFS’ comptaints and failed to ensure, protect, and aid in the protection of PLAINTIFFS’
24 || safety. Specifically, UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, failed to take

25 || steps to prevent and deter the in-flight sexual assaults and properly respond to such assaults that

 

13 Jennifer J. Freyd, /nstitutional Betrayal and Institutional Courage,
28 hitps://dynamic uoregon.edu/}j f/institutionalbetrayal/. See also Carly Parnitzke Smith & Jennifer J.
Freyd, dnstitutional Betrayal, 69 AM. PSYCH. ASSOC. 375 (2014).
i
COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 || PLAINTIFFS endured, particularly in light of Defendants’ knowledge of the growing prevalence
2 || of in-flight sexual assault. PLAINTIFFS had a right to be free from gender, age, and racial
3 || discrimination, sexual molestation and assault, abuse and harassment under the Unruh Civil Rights
4 || Act.

5 63. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, were acting under
6 || the color of their authority and scope of their employment while PLAINTIFFS were passengers
7 || on-board the FLIGHT operated by UNITED.

8 64, UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, denied
9 || PLAINTIFFS full and equal accommodations, advantages, facilities, privileges, or services
{0 || because of their gender, age, and race, by allowing ASSAILANT unfettered ability to sexually
11 || abuse and harass PLAINTIFFS, as a passenger on the FLIGHT, by actively ignoring
12 || PLAINTIFFS’ complaints and lack of and/or failure to enforce adequate policies and procedures
13 || for the proper response to ASSAILANT’s sexual assault and harassment. UNITED, FLIGHT
14 || ATTENDANTS, and ROES 4 through 50, through PLAINTIFFS’ complaints, had actual notice
15 || of ASSAILANT’s wrongful conduct and chose to ignore PLAINTIFFS’ pleas for help during the
16 |} FLIGHT.

17 65. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, lack of and/or
18 || failure to enforce adequate policies and procedures for the proper response to in-flight sexual
19 || assaults, despite its knowledge of myriad reports of in-flight sexual assaults, UNITED, FLIGHT
20 || ATTENDANTS, and ROES 4 through 50, granted ASSAILANT unfettered ability to sexually
21 || assault and harass PLAINTIFFS. Thus, UNITED, FLIGHT ATTENDANTS, and ROES 4 through
22 || 50’s, lack of and/or failure to enforce adequate policies and procedures for the proper response to
23 || in-flight sexual assaults denied PLAINTIFFS full and equal accommodations, advantages,
24 || facilities, privileges, or services during the duration of the FLIGHT, based upon their gender, age,
25 || and race.
26 66. The substantial motiving reason for UNITED, FLIGHT ATTENDANTS, and
27 || ROES 4 through 50’s, lack of and/or failure to enforce adequate policies and procedures for the
28 || proper response to in-flight sexual assaults was PLAINTIFFS’ gender, age, and race. UNITED,

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COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 jj FLIGHT ATTENDANTS, and ROES 4 through 50, unwittingly overlooked, disregarded, ignored,
2 |} and took for granted the fact that sexual assaults and harassment can occur to young African

3 American males.

4 67. Asadirect and proximate result of UNITED, FLIGHT ATTENDANTS, and ROES

4 through 50’s, acts, omissions, wrongful conduct and breaches of their duties, PLAINTIFFS were

6 |} put at unnecessary risk of harm and in many cases suffered and continue to suffer great pain of
7 || mind and body, shock, emotional distress, physical manifestations of emotional distress including
8 || depression, anxiety, humiliation, loss of enjoyment of life, and fear of flying and travel; have
9 || suffered and continue to suffer and were prevented and will continue to be prevented from

10 || performing daily activities and obtaining the full enjoyment of life; may sustain loss of earnings
1! |] and earning capacity; and may incur expenses for medical and psychological treatment, therapy,
12 || and counseling. PLAINTIFFS have suffered damages, both general and special damages, in an
13 || amount presently unknown but exceeding the minimum jurisdictional limit of this Court and as

14 || proven at the time of trial.

15 68. As a direct, proximate, and legal result of UNITED, FLIGHT ATTENDANTS, and
16 || ROES 4 through 50’s, violations of Civil Code section 51, they are liable to PLAINTIFFS for each
17 || and every offense for the actual damages, and any amount that may be determined by a jury, ora
18 || court sitting without a jury, up to a maximum of three times the amount of actual damage but in
19 }]} no case less than four thousand dollars ($4,000), and any attorney's fees that may be determined

20 || by the court in addition thereto, suffered by PLAINTIFFS as they were denied the rights provided

 

21 || in Civil Code section 51.

22 SECOND CAUSE OF ACTION

23 SEXUAL ASSAULT

24 (Plaintiffs Against Defendant ASSAILANT)

25 69. PLAINTIFFS re-allege and incorporate by reference herein each and every

26 || allegation contained herein above as though fully set forth and brought in this cause of action.
27 70. ASSAILANT, in doing the wrongful acts herein alleged, including intending to

28 {| subject PLAINTIFFS to sexual abuse, harassment, and molestation during the FLIGHT as a

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COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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| |} passenger, intended to cause harmful or offensive conduct with PLAINTIFFS’ person, or intended
2 || to put PLAINTIFFS in imminent apprehension of such conduct.
3 ZN. In doing the wrongful acts herein alleged, PLAINTIFFS were put in imminent

4 || apprehension of a harmful or offensive conduct by ASSAILANT and actually believed

5 || ASSAILANT had the ability to make harmful or offensive conduct with PLAINTIFFS’ person,
6 72. PLAINTIFFS did not consent to ASSAILANT’s intended harmful or offensive
7 || contact with PLAINTIFFS’ person, or intention to put PLAINTIFFS in imminent apprehension of

8 || such conduct.

9 73: In doing the wrongful acts herein alleged, ASSAILANT violated PLAINTIFFS’

10 || rights, pursuant to Civil Code section 43, of protection from bodily restraint or harm, and from
11 |] personal insult. In doing the wrongful acts herein alleged, ASSAILANT violated her duty,
12 |} pursuant to Civil Code section 1708, to abstain from injuring the person of PLAINTIFFS or
13 |} infringing upon their rights.
14 7A. As a result of the above-described conduct, PLAINTIFFS were put at unnecessary
15 || risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,
16 {| emotional distress, physical manifestations of emotional distress including depression, anxiety,
17 {|| humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to
18 || suffer and were prevented and will continue to be prevented from performing daily activities and
19 || obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may
20 || incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS
21 {| have suffered damages, both general and special damages, in an amount presently unknown but
22 || exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.
23 72 In subjecting PLAINTIFFS to the wrongful acts herein described, ASSAILANT
24 || acted willfully and maliciously with the intent to harm PLAINTIFFS, and in conscious disregard
25 || of PLAINTIFFS’ rights, so as to constitute malice and oppression under Civil] Code section 3294.
26 || PLAINTIFFS are therefore entitled to the recovery of punitive damages against ASSAILANT, in
27 || an amount to be determined according to proof.

28 || fff

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COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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I] THIRD CAUSE OF ACTION

2 SEXUAL BATTERY (CIVIL CODE § 1708.5)

3 (Plaintiffs Against Defendant ASSAILANT)

4 76. PLAINTIFFS re-allege and incorporate by reference herein each and every

5 || allegation contained herein above as though fully set forth and brought in this cause of action.

6 77. During the FLIGHT, ASSAILANT intentionally, recklessly, and wantonly did acts

7 || which were intended to, and did, result in harmful and offensive contact with intimate parts of

8 |} PLAINTIFFS’ person, all while they were passengers on the FLIGHT operated by UNITED.

9 78. ASSAILANT committed the acts set forth herein with the intent to cause a harmful
10 || or offensive contact with an intimate part of PLAINTIFFS’ person and that would offend a

1] |} reasonable sense of personal dignity. Further, said acts did cause a harmful or offensive contact

12 |} with an intimate part of PLAINTIFFS’ person that would offend a reasonable sense of personal

13 || dignity.
14 79. PLAINTIFFS did not give consent to such acts.
15 80. Asadirect, legal, and proximate result of the acts of ASSAILANT, PLAINTIFFS

16 || sustained serious and permanent injuries to their person, in an amount to be shown according to
17 || proof and within the jurisdiction of the Court.

18 81. In subjecting PLAINTIFFS to the wrongful acts herein described, ASSAILANT
19 |} acted willfully and maliciously with the intent to harm PLAINTIFFS, and in conscious disregard
20 || of PLAINTIFFS?’ rights, so as to constitute malice and oppression under Civil Code section 3294,
21 || PLAINTIFFS are therefore entitled to the recovery of punitive damages against ASSAILANT, in

22 || an amount to be determined according to proof.

23 FOURTH CAUSE OF ACTION

24 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

25 (Plaintiffs Against All Defendants)

26 82. PLAINTIFFS re-allege and incorporate by reference herein each and every

27 || allegation contained herein above as though fully set forth and brought in this cause of action.

28 83. The conduct of DEFENDANTS toward PLAINTIFFS, as described herein, was

15
COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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| |} outrageous and extreme.
2 84. A reasonable person would not expect or tolerate the sexual harassment,

3 || molestation, and abuse suffered by PLAINTIFFS at the hands of ASSAILANT, or UNITED,

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FLIGHT ATTENDANTS, and ROES 4 through 50’s, knowledge and callous indifference thereof.
PLAINTIFFS had great trust, faith, and confidence in in UNITED, FLIGHT ATTENDANTS, and
ROES 4 through 50, which, by virtue of ASSAILANT’s and UNITED, FLIGHT ATTENDANTS,
and ROES 4 through 50’s, wrongful conduct, turned to fear.

85. A reasonable person would not expect or tolerate UNITED, FLIGHT
ATTENDANTS, and ROES 4 through 50’s, lack of and/or failure to enforce adequate policies and

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procedures for the proper response to ASSAILANT’s sexual assault and harassment.

i 86. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, were in a position
12 || of care and control over PLAINTIFFS. UNITED, FLIGHT ATTENDANTS, and ROES 4 through
13 || 50’s, lack of and/or failure to enforce adequate policies and procedures for the proper response to
14 || in-flight sexual assaults, specifically the sexual assaults at issue in this Complaint, exacerbated and
15 || amplified the trauma of the actual assault.

16 87. A reasonable person would not expect or tolerate UNITED, FLIGHT
17 {{ ATTENDANTS, and ROES 4 through 50, to be incapable of supervising and/or stopping
18 }] passengers, such as ASSAILANT, from committing acts of sexual assault on other passengers with
19 || actual notice of such wrongful acts. PLAINTIFFS provided UNITED, FLIGHT ATTENDANTS,
20 |} and ROES 4 through 50, with actual notice and complaint of ASSAILANT’s wrongful conduct
2) multiple times during the FLIGHT. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50,
22 || ignored those complaints, sat idly, and allowed ASSAILANT to continue her wrongful conduct.
23 || A reasonable person would not expect UNITED, FLIGHT ATTENDANTS, and ROES 4 through
24 |} 50, whose presence was supposed to ensure PLAINTIFFS’ comfort and safety during the FLIGHT,
25 || to sit idly by and not take action to prevent ASSAILANT’s wrongful conduct.

26 88. UNITED acted with intent or recklessness, knowing that PLAINTFFS were likely
27 || to endure emotional distress given their relative lack of power or control over their situation or

28 || ability to report a crime while passengers on the FLIGHT, and given UNITED’s, including

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COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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| |] FLIGHT ATTENDANTS, failure to report or adequately respond to PLAINTIFFS’ suffering a
sexual assault while in-flight.

89, As aresult of DEFENDANTS’ conduct, PLAINTIFFS sustained severe emotional

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distress, physical manifestations of emotional distress, emotional anguish, fear, anxiety,
humiliation, depression, and other physical and emotional injuries, and damages (both economic
and noneconomic), in the past, present, and future, for which this claim is made. The injuries
suffered by PLAINTIFFS are substantial, continuing, and permanent.

90. DEFENDANTS’ conduct caused suffering for PLAINTIFFS at levels that no

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reasonable person should have to endure.

10 91. As a result of the above-described conduct, PLAINTIFFS’ were put at unnecessary
11 |] risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,
12 || emotional distress, physical manifestations of emotional distress including depression, anxiety,
13 || humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to
14 || suffer and were prevented and will continue to be prevented from performing daily activities and
15 || obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may
16 |} incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS
17 || have suffered damages, both general and special damages, in an amount presently unknown but
18 || exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

19 92. In subjecting PLAINTIFFS to the wrongful acts herein described, DEFNEDANTS
20 || acted willfully and maliciously with the intent to harm PLAINTIFFS, and in conscious disregard
21 of PLAINTIFFS’ rights, so as to constitute malice and oppression under Civil Code section 3294.
22 || PLAINTIFFS are therefore entitled to the recovery of punitive damages against DEFENDANTS,
23 {j in an amount to be determined according to proof.

24 FIFTH CAUSE OF ACTION

25 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

26 (Plaintiffs Against Defendants UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50)
27 93. PLAINTIFFS re-allege and incorporate by reference herein each and every

28 || allegation contained herein above as though fully set forth and brought in this cause of action.

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COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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I 94. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, conduct
2 || negligently caused emotional distress to PLAINTIFFS.
3 95. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, knew or reasonably

should have known that PLAINTIFFS who experienced in-flight sexual assault and were treated

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poorly or inadequately in the aftermath would experience emotional distress.

96. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, could reasonably
foresee that its actions and omissions would have caused emotion distress to PLAINTIFFS.

97. UNITED, and its employees, are a common carrier. Common carriers must carry

passengers safely. Common carriers must use the highest care and the vigilance ofa very cautious

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person. They must do all that human care, vigilance, and foresight reasonably can do under the
1t || circumstances to avoid harm to passengers. A common carrier must use reasonable skill to provide
12 || everything necessary for safe transportation, in view of the transportation used and the practical
13 {| operation of the business. PLAINTIFFS as passengers on the FLIGHT are unable to escape from
14 || their ASSAILANT or report a crime to authorities on their own. PLAINTIFFS reported
15 |] ASSAILANT’s wrongful conduct to FLIGHT ATTENDANTS. Unfortunately, UNITED’s,
16 including its FLIGHT ATTENDANTS, lack of and/or failure to enforce adequate policies and
17 || procedures for the proper response to in-flight sexual assaults, specifically the sexual assaults at
18 || issue in this Complaint, exacerbated and amplified the trauma of the actual assault,

19 98. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, negligence was a
20 || substantial factor in causing PLAINTIFFS’ serious emotional distress.

21 99. Asa result of UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s,
22 || conduct, PLAINTIFFS sustained severe emotional distress, physical manifestations of emotional
23 || distress, emotional anguish, fear, anxiety, humiliation, depression, and other physical and
24 || emotional injuries, and damages (both economic and noneconomic), in the past, present, and
25 || future, for which this claim is made. The injuries suffered by PLAINTIFFS are substantial,
26 |} continuing, and permanent.

27 100. UNITED, FLIGHT ATTENDANTS, and ROES 4 throuvh 50's, conduct caused

28 || suffering for PLAINTIFFS at levels that no reasonable person should have to endure.

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COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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| 101. Asaresult of the above-described conduct, PLAINTIFFS’ were put at unnecessary
2 || risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,

emotional distress, physical manifestations of emotional distress including depression, anxiety,

had

4 || humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to

suffer and were prevented and will continue to be prevented from performing daily activities and

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obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may
incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS
have suffered damages, both general and special damages, in an amount presently unknown but

exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

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SIXTH CAUSE OF ACTION

ll NEGLIGENCE

12 (Plaintiffs Against Defendants UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50)
13 102. PLAINTIFFS re-allege and incorporate by reference herein each and every
14 || allegation contained herein above as though fully set forth and brought in this cause of action.

15 103. UNITED, as acommon carrier, has a special duty to provide due care to ensure and
16 || protect and aid in the protection of its passengers’ safety. This duty includes one to take reasonable
17 || steps in order to prevent and deter in-flight sexual assault on its flights, and to properly respond to
18 || such assaults that do occur, particularly in light of UNITED’s knowledge of the growing
19 || prevalence of in-flight sexual assault.

20 104. UNITED, including its employees and FLIGHT ATTENDANTS, had special
21 || duties to protect PLAINTIFFS, when such individuals were passengers entrusted to UNITED’s
22 || care. PLAINTIFFS’ safety and well-being were entrusted to UNITED, including its employees
23 || and FLIGHT ATTENDANTS, during the FLIGHTS. UNITED, including its employees and
24 || FLIGHT ATTENDANTS, voluntarily accepted the entrusted care of PLAINTIFFS. As such,
25 || UNITED, including its employees and FLIGHT ATTENDANTS, owed PLAINTIFFS a special
26 || duty of care that common carriers dealing with passengers owe to protect them from harm, and to
27 || aid them in preventing and responding to harm. The duty to protect and warn arose from the

28 || common carrier doctrine that applies to airline carriers (including its employees and personnel).

19
COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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] 105. Upon information and belief, UNITED, including its employees and FLIGHT

2 || ATTENDANTS, knew or should have known of the prevalence of in-flight passenger-on-
3 || passenger sexual assault and of the likelihood of risk and harm to its passengers absent
4 || implementation and enforcement of appropriate policies.

5 106. UNITED, including its employees and FLIGHT ATTENDANTS, breached its duty
6 || of care to PLAINTIFFS by failing to implement and enforce uniform policies and procedures for
7 {| the prevention, deterrence, and response to in-flight sexual assaults on its flights; by failing to
8 || report in-flight sexual assaults to the proper authorities, or to any authorities; and by failing to
9 || cooperate with authorities in the reporting and investigation process into in-flight sexual assaults.
10 107. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, negligence was a
1! || substantial factor in causing PLAINTIFFS’ harm.

12 108. Asa result of UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s,

13 {| conduct, PLAINTIFFS sustained severe emotional distress, physical manifestations of emotional
14 || distress, emotional anguish, fear, anxiety, humiliation, depression, and other physical and
15 |] emotional injuries, and damages (both economic and noneconomic), in the past, present, and
16 || future, for which this claim is made. The injuries suffered by PLAINTIFFS are substantial,
17 || continuing, and permanent.

18 109. Asaresult of the above-described conduct, PLAINTIFFS were put at unnecessary
19 |} risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,
20 |} emotional distress, physical manifestations of emotional distress including depression, anxiety,
21 |} humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to
22 || suffer and were prevented and wil] continue to be prevented from performing daily activities and
23 || obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may
24 || incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS
25 || have suffered damages, both general and special damages, in an amount presently unknown but
26 |) exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

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COMPLAINT FOR DAMAGES: DEMAND FOR JURY TRIAL

 

 

 
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| SEVENTH CAUSE OF ACTION

2 NEGLIGENT HIRING, TRAINING, SUPERVISION, AND RETENTION

3 (Plaintiffs Against Defendants UNITED and ROES 4 through 50)

4 110. PLAINTIFFS re-allege and incorporate by reference herein each and every
5 || allegation contained herein above as though fully set forth and brought in this cause of action.

6 111. FLIGHT ATTENDANTS were hired, employed, trained, and/or supervised by
7 || UNITED.

8 112. FLIGHT ATTENDANTS were unfit and/or incompetent to perform the work for
9 || which they were hired to perform. Specifically, by failing to implement and enforce uniform
10 |} policies and procedures for the prevention, deterrence, and response to in-flight sexual assaults on

1] || its flights; by failing to report in-flight sexual assaults to the proper authorities, or to any
12 || authorities; and by failing to cooperate with such authorities in the reporting and investigation
13 || process into in-flight sexual assaults.

14 113. UNITED knew or shouid have known that FLIGHT ATTENDANTS were unfit
15 {| and/or incompetent and that this unfitness and/or incompetence created a particular risk to
16 || PLAINTIFFS and others.

17 114. FLIGHT ATTENDANTS’ unfitness and/or incompetence harmed PLAINTIFFS.
18 115. UNITED’s negligence in hiring, training, supervision, and/or retention was a
19 j] substantial factor in causing PLAINTIFFS’ harm.

20 116. As a result of UNITED’s negligence in hiring, training, supervision, and/or
21 {| retention of FLIGHT ATTENDANTS, PLAINTIFFS sustained severe emotional distress, physical
22 || manifestations of emotional distress, emotional anguish, fear, anxiety, humiliation, depression, and
23 |; other physical and emotional injuries, and damages (both economic and noneconomic), in the past,
24 || present, and future, for which this claim is made. The injuries suffered by PLAINTIFFS are
25 || substantial, continuing, and permanent.

26 117. Asaresult of the above-described conduct, PLAINTIFFS were put at unnecessary
27 |} risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,

28 || emotional distress, physical manifestations of emotional distress including depression, anxiety,

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COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 {| humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to
2 || suffer and were prevented and will continue to be prevented from performing daily activities and
3 || obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may
4 || incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS
5 || have suffered damages, both general and special damages, in an amount presently unknown but
6 |} exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.
7 PRAYER FOR RELIEF
8 WHEREFORE, PLAINTIFFS pray for damages and other judicial relief as follows:
9 L. For past, present, and future non-economic damages in an amount to be determined
10 at trial;
H 2: For past, present, and future special damages, including but not limited to past,
12 present, and future lost earnings, economic damages and others, in an amount to be
13 determined at trial;
14 3. Any appropriate statutory damages;
15 4. For costs and expenses of suit;
16 a For interest based on damages, as well as pre-judgment and post-judgment interest
17 as allowed by law;
18 6. For attorney’s fees pursuant to California Code of Civil Procedure section 52, et
19 seq. or as otherwise allowable by law;
20 7 For treble damages of the amount of actual damage but in no case less than four
21 thousand dollars ($4,000) pursuant to California Code of Civil Procedure section
22 52, et seq. or as otherwise allowable by law;
23 8. For exemplary and punitive damages;
24 9. For declaratory and injunctive relief, including but not limited to court supervision
25 of UNITED, including its FLIGHT ATTENDANTS and employees; and
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COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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] 10. For such other and further relief as the Court may deem proper.
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3 || Dated: May 18, 2020 THE DARWISH LAW FIRM, APC
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6 .
Darren D. Darwish, Esq.
] Attorneys for Plaintiffs
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10 || Dated: May 18, 2020 AZIZIAN LAW, P.C.
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t4 Attorneys fer Plaintitfs
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COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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I DEMAND FOR JURY TRIAL

Z PLAINTIFFS hereby demand a jury trial.

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4 || Dated: May 18, 2020 THE DARWISH LAW FIRM, APC

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Darren D. Darwish, Esq.

8 Attorneys for Plaintiffs

‘4 JOHN DOE | and JOHN DOE 2
10 |! Dated: May 18, 2020 AZIZIAN LAW, P.C.
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COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
